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AO 440 (Rev. 06/12) Summons ina Civil Action (Page 2)

 

 

Civil Action No. -23-cv-00409-CFK

PROOF OF SERVICE
(This section should not be filed with the court unless required hy Fed. R. Civ. P. 4 ()))
JULIO ALDECOCES CEO

This summons for (name of individual and title, if
any) LAKEVIEW LOAN SERVICE LLC, et. al.

 

was received by me on (date) — April 21,2023

C1 [personally served the summons on the individual at (place)

 

on (date) F ; or

 

1 [left the summons at the individual’s residence or usual place of abode with (name)
, a person of suitable age and discretion who resides there,

on (date) , and mailed a copy to the individual’s last known address; or

I served the summons on (name of individual) JULIO ALDECOCES CEO, LAKEVIEW LOAN SERVICE LLG, et.al. | who is

 

 

 

designated by law to accept service of process on behalf of (name of organization) Florfa Capital Couriers &
RAPID DELIVERY SERVICE on (date) April 21, 2023 or
(1 returned the summons unexecuted because sor

 

1) Other (specify):

 

 

My fees are $ —fortraveland$ for services, for a total of $ 165.000

I declare under penalty of perjury that this information is true.
Date: April 21,2023
Server's signature

-Solomon: Millar

Authorized Rept casiittye

5352 Boel, y daa, Anv f Mucor Dep

Seifper’s address
(Akg

Additional information regarding attempted service, etc:
set a Case 2:23-cv-00409-CFK Document ?4’*FifeG4/24/23 Page 2 of 3

Florida Capital Couriers

April 21, 2023

I have received the enclosed documents on Friday April 21, 2023 at 4425 Ponce

De Leon Boulevard Coral Gables Florida 33146, Suit 5-251.
o <e

Tce Jord

https://mail.google.com/mail/u/1 /#inbox?projector=1

 

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Case 2:23-cv-00409-CFK Document 14 Filed 04/24/23 Page 3 of 3

TOR hast Sorthla (eloks 3

 

FIRST IN SAME DAY DELIVERY

RETURN OF SERVICE

ist
On the a) | a) day of ApR\ ee 2003
L, CANGRON Mel , served with the foregoing ( ae by

(describe method of service):

 

  

AER. (RECEPTIONS CASIAN,
eons BAe aus EYES “Dab oni Re VALE OF
JARI Sec Ql MAPYET Sure SOBA

 

  

NU ©) \o

! certify that the statements in this return of service are true and
correct. | understand that false statements herein are made subject to
penaities of 18 Pa. C.S.A. § 4904 relating to unsworn falsification to
authorities. a

Hlai]as Mae

Date Signatur

 

 

KML LAW GRouP, RC.

Wame of Person Served”

 

Commonwealth of Pennsylvania - Notary Seal
STEVEN ORTIZ-MORALES - Notary Public
Philadelphia County
My Commission Expires October 27, 2024
Commission Number 1355645

 

 

 
